                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )         No. 3:09-00084
                                                  )         JUDGE CAMPBELL
JASON EUGENE MIZE                                 )


                                             ORDER

       Pending before the Court is the Defendant’s Motion To Clarify The Judgment (Docket

No. 191), and the Government’s response (Docket No. 193) thereto. Through the Motion, the

Defendant asks the Court to clarify its Judgment (Docket No. 179) because he contends that he is

being required to pay a greater share of restitution than his Co-Defendants.

       The Defendant’s Motion is DENIED, as the Judgment is clear that the Defendant’s

obligation to pay restitution of $2,125.50 is “joint and several” with the Co-Defendants. (Docket

No. 179, at page 6 of 6). 18 U.S.C. § 3664(h).

       It is so ORDERED.


                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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